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                                                                   NOT PRECEDENTIAL

                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                               _________________

                                      No. 23-1613
                                   _________________

                                       JANE DOE,
                                                       Appellant
                                             v.

                          UNIVERSITY OF PENNSYLVANIA
                                ________________

                     On Appeal from the United States District Court
                        for the Eastern District of Pennsylvania
                             (D.C. Civil No. 2-22-cv-02689)
                       District Judge: Honorable Cynthia M. Rufe
                                   ________________

                      Submitted Under Third Circuit L.A.R. 34.1(a)
                                    May 6, 2024

       Before: PORTER, MONTGOMERY-REEVES, and ROTH, Circuit Judges.

                              (Opinion filed: May 24, 2024)

                                   ________________

                                       OPINION*
                                   ________________

MONTGOMERY-REEVES, Circuit Judge.

       Jane Doe appeals the denial of her motion to proceed under a pseudonym in her

lawsuit against University of Pennsylvania (“UPenn”). Because Doe alleges harm that


*
  This disposition is not an opinion of the full Court and pursuant to I.O.P. 5.7 does not
constitute binding precedent.
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does not rise to the level of severity necessary to justify the exceptional relief of

anonymity, we will affirm.

I.     BACKGROUND

       In 2020, Doe enrolled as a student in UPenn’s Pre-Med Post-Baccalaureate

Program (the “Program”). She planned to complete the Program in Spring 2021 and

apply to medical school. Doe alleges that a chemistry professor in the Program

discriminated against her based on her race by denying her extensions, grading her

unfairly, and reporting her for academic dishonesty. She reported this discrimination to

UPenn. According to Doe, UPenn retaliated by launching a deficient academic integrity

investigation, finding she committed academic dishonesty, and suspending her for one

and a half years. Doe further contends that

              [b]y improperly suspending Plaintiff and placing a notation
              on her transcript and disciplinary record, UPenn has damaged
              Plaintiff’s future educational and career prospects.
              Specifically, as a result of UPenn’s actions, Plaintiff will be
              forced to disclose and explain to medical schools and
              potential employers to which she may opt to apply that she
              was disciplined at UPenn for academic dishonesty. . . .

                      As a result, Plaintiff has suffered and will continue to
              suffer reputational damage, economic losses, and damages to
              her future educational and career prospects.

App. 17.

       Doe filed suit against UPenn alleging violations of Title VI of the Civil Rights Act

of 1964 and breach of contract. She sought to proceed with her claims anonymously,

which the District Court denied. This timely appeal followed.




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II.    DISCUSSION1

       Doe argues that the District Court erred by denying her motion for leave to

proceed under a pseudonym. “The denial of a motion to proceed anonymously is

reviewed for abuse of discretion.” Doe v. Coll. of N.J., 997 F.3d 489, 493 n.3 (3d Cir.

2021) (citing Doe v. Megless, 654 F.3d 404, 407 (3d Cir. 2011)). “A district court abuses

its discretion if its decision ‘rests upon a clearly erroneous finding of fact, an errant

conclusion of law or an improper application of law to fact or when no reasonable person

would adopt the district court’s view.’” Id. (quoting In re Zoloft (Sertraline

Hydrochloride) Prods. Liab. Litig., 858 F.3d 787, 792 n.22 (3d Cir. 2017)). After

considering Doe’s arguments on appeal, we cannot conclude that the District Court

abused its discretion by denying Doe’s request to proceed anonymously.

       The ability to proceed anonymously is reserved for exceptional cases. See

Megless, 654 F.3d at 408. In Megless, this Court articulated a two-step test to determine

whether a litigant presents an exceptional case. Id. at 408–409. First, a litigant must

allege a “reasonable fear of severe harm” that will result “from litigating without a

pseudonym.” Id. at 408. Second, if a litigant sufficiently alleges such a harm, then the

court employs a balancing test to determine whether the party’s reasonable fear of severe

harm “outweighs the public’s interest in open litigation.” Id. at 409.



1
  The District Court had jurisdiction under 28 U.S.C. §§ 1331 and 1367. This Court has
jurisdiction under 28 U.S.C. § 1291 and the collateral order doctrine. Coll. of N.J., 997
F.3d at 494 (“We therefore join the Fourth, Fifth, Seventh, and Ninth Circuits in
concluding that orders denying motions to proceed anonymously are immediately
appealable under the collateral order doctrine.”).

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           Doe fails at step one, because she has not alleged a reasonable fear of severe harm.

“That a plaintiff may suffer embarrassment or economic harm” is not sufficient to allege

severe harm under Megless. Id. at 408. Instead, severe harm has been found in “cases

involving ‘abortion, birth control, transexuality [sic], mental illness, welfare rights of

illegitimate children, AIDS, and homosexuality.’” Id. (quoting Doe v. Borough of

Morrisville, 130 F.R.D. 612, 614 (E.D. Pa. 1990). Doe alleges that she must proceed

anonymously to avoid damaging her ability to be accepted to medical school or to secure

future employment in the medical profession. But this Court has held that type of

harm—embarrassment and economic harm—cannot serve as a basis to proceed under a

pseudonym. 2

           Because Doe has not sufficiently alleged a reasonable fear of severe harm from

litigating without a pseudonym, the District Court did not abuse its discretion in denying

Doe’s motion for leave to proceed under a pseudonym.

    III.   CONCLUSION

           For the reasons discussed above, we will affirm the District Court’s order.


2
   The cases that Doe cites in her opening brief as support for her proposition that “courts
throughout the United States have routinely granted pseudonym treatment in cases
involving university misconduct,” Opening Br. 12, are all materially distinguishable from
the present case. All but one of the cases cited by Doe involved allegations of intimate
partner violence, sexual assault, sexual misconduct, or an analogous topic. See, e.g., Doe
v. Princeton Univ., No. 20-4352 (BRM), 2020 WL 3962268, at *1 (D.N.J. July 13, 2020);
Doe v. Mass. Inst. of Tech., 46 F.4th 61, 64 (1st Cir. 2022). The final case she cites did
not take place in the university context and involved allegations of a prisoner being
shackled during childbirth. Doe v. Middlesex County, No. 20-8625 (MAS) (ZNQ), 2021
WL 130480, at *1 (D.N.J. Jan. 14, 2021). None of these cases support Doe’s argument
that the facts underlying her claims are “centered on a private and intimate moment.”
Opening Br. 15 (quoting Middlesex County, 2021 WL 130480, at *6).

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